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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

UNITED STATES OF AMERICA                  *      CRIMINAL NO. 6:23-CR- 00063-DCJ-CBW
                                          *
VERSUS                                    *      18 U.S.C. $$ 2, 371, 666, 981
                                          *      28 U.S.C. $ 2461
DUSTY GUIDRY                              *

                              BILL OF INFORMATION
THE UNITED STATES CHARGES:

AT ALL TIMES MATERIAL HEREIN:

       1.     The defendant, DUSTY GUIDRY, was an agent of the District
Attorney's Office of the 15th Judicial District, State of Louisiana, (hereinafter "District

Attorney's Office") located within the Western District of Louisiana, acting as an

agent for the Pre-Trial Diversion Program of the District Attorney's Office.

       2.     Beginning on or about February 7, 20L7, and continuing until at least

on or about December 10,2021, GUIDRY was also the owner of a company called DJG

Consulting. Beginning on or about August 29,20L9, and continuing until on or about

November 28,2022, Skyline Media was registered in the State of Louisiana.

       3.     Public Official #1 (PO-l) was an employee and agent of the District

Attorney's Office.

      4.     Vendors #1, #2, #3, and #4 provided services to defendants authorized

to participate in the Pre-Trial Diversion Program of the District Attorney's Office.

The defendants were required to pay the vendors directly for such services.




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       5.        DUSTY GUIDRY, PO-1, and other agents of the Pre-Trial Diversion

Program acting under the direction of DUSTY GUIDRY and/or PO-1 referred

defendants into programs offered by Vendors #1, #2,#3, and# .

       6.        The District Attorney's Office was an agency of the State of Louisiana

and received in excess of $10,000 annually in benefits under federal programs

involving grants, contracts, subsidies, Ioans, guarantees, insurance, and other forms

of assistance.

                                  COUNT 1
                      CONSPIRACY TO COMMIT AN OFFENSE

                                      18 U.S.C. $ 371
The Conspiracy

       7.        The introductory allegations set forth in paragraphs 1 through 6 are

realleged and incorporated by reference as though fully set forth herein.

       8.        Beginning on or about January Ll, 2021, and continuing until on or

about May 9, 2022, the defendant, DUSTY GUIDRY, did conspire, confederate, and

agree with others both known and unknown to the United States, to commit the crime

of solicitation of a bribe by an agent of a government agency receiving federal benefits,

in violation of Title 18, United States Code, Section 666(a)(1)(B).

Purpose of the Conspiracy

       9.        It was a purpose of the conspiracy for DUSTY GUIDRY and others to
enrich themselves by soliciting and accepting money from Vendors #1, #2,#3, and#4,

in exchange for providing and agreeing to provide favorable official action for Vendors

#1,#2, #3, and #4 in the Vendors' business with the District Attorney's Office.


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       10. It was a further part of the conspiracy to hide, conceal, and cover up the
nature and scope of the Vendors'dealings with DUSTY GUIDRY and PO-1, including

the true source and nature of the payments Vendors #L, #2, #3, and #4 provided to

DUSTY GUIDRY and PO-1.

Manner and Means of the Conspiracy

       11. The conspiracy was carried out through the following manner and
means, among others:

       12. DUSTY GUIDRY and PO-l used their positions within the Pre-Trial
Diversion Program of the District Attorney's Office to facilitate criminal defendants'

entry into the Pre-Trial Diversion Program.

      13. In order to expand the number of defendants eligible for Pre-Trial
Diversion programs, DUSTY GUIDRY and PO-1 loosened and caused to be loosened

the eligibility requirements of defendants, thereby increasing the amount of money

paid to the Vendors by defendants. These Vendors then split those increased profits

and/or made payments to DUSTY GUIDRY, PO-1, and their co-conspirators.

      L4. Once defendants were admitted to the program, DUSTY GUIDRY and
PO-1 used their positions within the Pre-Trial Diversion Program of the District

Attorney's Office to direct criminal defendants' assignment to certain classes and

services provided by Vendors #1, #2,#3, and#4.

      15. Once the defendants completed the Pre-Trial Diversion requirements
assigned to them, DUSTY GUIDRY and/or PO-1 would cause or direct the dismissal

of the defendants' charges.
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       16. In exchange for DUSTY GUIDRY and/or PO-1 having defendants
assigned to their programs, Vendors #1 through #4 agreed to and did make payments

directly to DUSTY GUIDRY, either in his personal capacity or through his company

DJG Consulting or Skyline Media. Vendors #1 and #3 also agreed to and did provide

money and other tangible benefits to DUSTY GUIDRY and PO-1 in exchange for the

official acts that DUSTY GUIDRY and PO-l took at the District Attorney's Office.

Overt Acts

       17. In furtherance of the conspiracy and to effect the objects of the
conspiracy, DUSTY GUIDRY and one or more of the conspirators committed and

caused to be committed the acts alleged in Count 2 of this Bill of Information, among

others, in the Western District of Louisiana, which substantive acts are incorporated

by reference as overt acts.

       18. Also in furtherance of the conspiracy and to effect its objects, DUSTY
GUIDRY agreed to accept payments and things of value from Vendor #1 in exchange

for causing and directing that Pre-Trial Diversion defendants be assigned to classes

offered by Vendor #1. Specifically, Vendor #1 offered and DUSTY GUIDRY accepted

the purchase and payments toward a vehicle for DUSTY GUIDRY and his wife.

      19. In order to conceal that DUSTY GUIDRY was receiving these payments
from Vendor #1, DUSTY GUIDRY used Skyline Media to accept the payments.

DUSTY GUIDRY also directed Vendor #I to provide the payments or things of value

to his wife or her company in order to conceal the payments.
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      20. Also in furtherance of the conspfuacy and to effect its objects, DUSTY
GUIDRY agreed to accept payments and things of value from Vendor#2 in exchange

for causing and directing that Pre-Trial Diversion defendants be assigned to classes

offered by Vendor #2. Specifically, Vendor #2 offered and DUSTY GUIDRY accepted

50% of all revenue earned by Vendor #2, including 50% of the revenue Vendor #2

earned through the Pre-Trial Diversion Program in the 15th JDC.

      21. Also in furtherance of the conspiracy and to effect its objects, DUSTY
GUIDRY agreed to accept payments and things of value from Vendor #4in exchange

for causing and directing that Pre-Trial Diversion defendant be assigned to services

offered by Vendor#4. On or about October 2,2021, DUSTY GUIDRY told Vendor#4

that he had used his official position to direct several Pre-Trial Diversion defendants

to take courses sponsored by Vendor #4, at a price of several hundred dollars per

defendant.

      All in violation of Title 18, United States Code, Section 371.

                                      COUNT 2
             BRIBERY _ PROGRAMS RECEIVING FEDERAL FUNDS

                                 18 U.S.C. $$ 2, 666

      22. The allegations set forth in paragraphs 1 through 2t arc realleged and
incorporated by reference as though fully set forth herein.

      23. On or about the 28th day of October 2021, in the Western District of
Louisiana, the defendant, DUSTY GUIDRY, aided and abetted by others known and

unknown to the United States, did corruptly accept a thing of value from a person,

intending to be influenced and rewarded in connection with a transaction or series of
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transactions of the District Attorney's Office of the 15th Judicial District, involving

$5,000 or more. Namely, DUSTY GUIDRY accepted a payment of at least $12,500

from Vendor #3, in exchange for DUSTY GUIDRY and PO-l's direction that a pre-

trial defendant be accepted into the Pre-Trial Diversion Program and assigned to
classes offered by Vendor #3.

      All in violation of Title 18, United States Code, Sections 2 and 666(a)(1)(B).

                               COUNT 3
                   CONSPIRACY TO COMMIT AN OFFENSE

                                   18 U.S.C. S 371

AT ALL TIMES MATERIAL HEREIN:

      24. Beginning at least on or about May 1, 2019, until at least on or about
December 10,202L, the defendant, DUSTY GUIDRY, was an agent for the Louisiana

Department of Wildlife and Fisheries (hereinafter "LDWF") located within the

Western District of Louisiana, and the State of Louisiana.

      25. Public Official #2 (PO-z) was an employee and agent of LDWF during at
least on or about May 1, 2019 until at least on or about December 10,2021.

      26. Vendors #1 and #6 provided contractual services to LDWF.
      27. LDWF was an agency of the State of Louisiana that received in excess
of $10,000 annually in benefits under federal programs involving grants, contracts,

subsidies, loans, guarantees, insurance, and other forms of assistance.

The Conspiracy

      28. The introductory allegations set forth in paragraphs 24 t}:rro:ug};, 27 arc
realleged and incorporated by reference as though fully set forth herein.
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       29. Beginning on or about May 1, 2019, and continuing until on or
about December 10,2021, the defendant, DUSTY GUIDRY, did conspire, confederate,

and agree with others both known and unknown to the United States, to commit the

crime of solicitation of a bribe by an agent of a government agency receiving federal

benefits, in violation of Title 18, United States Code, Section 666(a)(1)(B).

Purpose of the Conspiracy

      30. It was a purpose of the conspiracy for DUSTY GUIDRY, PO-2, and
others known to the United States to enrich themselves by soliciting and accepting

money and things of value from Vendor#1, in exchange for providing and agreeing to

provide favorable official action for Vendor #1 in its business with the LDWF.

      31. It was a further part of the conspiracy to hide, conceal, and cover up the
nature and scope of the Vendor #1's dealings with DUSTY GUIDRY and PO-2,

including the true source and nature of the payments Vendor #1 provided to DUSTY

GUIDRY and PO-2.

Manner and Means of the Conspiracy

      32. The conspiracy was carried out through the following manner and
means, among others:

      33. DUSTY GUIDRY and PO-2 used their positions within the LDWF to
unlawfully steer and attempt to steer LDWF contracts for services to Vendor #1 in

exchange for payments and other tangible benefits.
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      34. DUSTY GUIDRY, and other public officials known to the United States,
including PO-2, steered, and attempted to steer contracts to Vendor #1 related to the

provision of (1) hunters' and boaters' education classes; (2) courses to resolve LDWF

violations, and (3) hunting and boating licenses.

      35. In exchange, Vendor #1 provided money and other tangible benefits to
DUSTY GUIDRY and PO-2 specifically due to their official positions at the LDWF.

Overt Acts

      36. In furtherance of the conspiracy and to effect the objects of the
conspiracy, DUSTY GUIDRY and one or more of the conspirators committed and

caused to be committed at least the following acts:

             a.     On or about October 8,2O2I,PO-2, acting on behalf of the LDWF,

signed and entered into a contract with Vendor #1, agreeing that Vendor #1 would

provide services to LDWF related to the provision of (1) hunters' and boaters'

education classes; (2) courses to resolve LDWF violations, and (3) hunting and

boating licenses. In return, Vendor #1 would receive a percentage of gross revenues

earned through the provision ofthose services.

             b.    On or about November 19, 2021, DUSTY GUIDRY, PO-2, and

Vendor #1 met to discuss concealing and disguising the payment of the bribe

proceeds. DUSTY GUIDRY, PO-z, and Vendor #1 agreed that Vendor #1 would

refrain from paying the kickbacks owed to PO-2 until after PO-2's retirement from
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the LDWF. Further, DUSTY GUIDRY, PO-2, and Vendor #1 agreed that Vendor #l

would purchase an approximately $14,000 all-terrain vehicle for PO-2.

      All in violation of Title 18, United States Code, Section 371, and 666.

                             FORFEITURE ALLEGATION

       37. The allegations contained in Counts 1 through 3 of this Information are
hereby realleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2a6I@).

       38. Upon conviction of the offenses in violation of Title 18, United States
Code, Sections 371 and 666 set forth in Count 1 through 3 of this Information, the

defendant, DUSTY GUIDRY, shall forfeit to the United States of America, pursuant

to Title 18, United States Code, Section 981(aX1XC) and Title 28, United States Code,

Section 246L(c), any property, real or personal, which constitutes or is derived from

proceeds traceable to the offenses.

      39. Ifany ofthe property described above, as a result ofany act or
omission of the defendant:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be
                    divided without difficulty,
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the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c).

      All pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c).


                                        Respectfully submitted:

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